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 5
                      UNITED STATES DISTRICT COURT
 6
                           DISTRICT OF NEVADA
 7                                               -oOo-

 8   United States of America,                     )
                                                   )   Case No.: 2:11-CR-223-JAD-CWH
                    Plaintiff,                     )
 9                                                 )   STIPULATION TO CONTINUE HEARING
                                                   )   ON DEFENDANT’S MOTION FOR
10          vs.                                    )   EARLY RELEASE FROM SUPERVISION
                                                   )   AND EXTENSION OF TIME FOR
11   WILLARD DEAN,                                 )   GOVERNMENT TO FILE ITS RESPONSE
                                                   )   TO DEFENDANT’S MOTION (doc. no.
12                  Defendant.                     )   252)
                                                   )              (First Request)
13

14          It is hereby stipulated and agreed by the United States of America, by and through

15   DANIEL G. BOGDEN, the undersigned Assistant United States Attorney, Kimberly M. Frayn,

16   and Thomas F. Pitaro, Esq., counsel for Defendant WILLLARD DEAN, that the hearing on the

17   Defendant’s motion for early release from supervision, currently set for February 17, 2016,

18   should be continued, to a date and time convenient to the Court, but not earlier than three week

19   after the February 16, 2016 Judgment Debtor Exam is concluded; and the parties further stipulate

20   that the Government will have an extension of time to file the Government’s response to the

21   Defendant’s motion for early release from supervision from January 29, 2016 to a date and time

22   convenient to the Court, but not less than two weeks after the February 16, 2016 Judgment

23   Debtor Exam is concluded for the following reasons:

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 1          1.      The Defendant has requested to be released from supervision early (doc. no.

 2   252). A significant amount of restitution remains due and owing for which the Defendant is

 3   jointly and severally liable. The government has become aware of some possible discrepancies

 4   in the Defendant’s actual financial position and the information he has provided to the Probation

 5   Office about his finances. Accordingly, the Government has requested and the Court has

 6   ordered that the Defendant participate in a Judgment Debtor Exam, which is presently

 7   scheduled for February 16, 2016.

 8          2.      The Government does not wish to make a recommendation to the Court about

 9   whether the Court should or should not grant the Defendant’s motion for early termination until

10   after the results of the Judgment Debtor Exam have been analyzed.

11          3.      The Defendant is not in custody. Defense counsel stipulates and agrees with the

12   Government’s requested continuance of the motion hearing and extension of time to file the

13   Government’s response to the pending motion. The requested continuance and extension of

14   time is not made merely for delay, but to allow the Government sufficient time to determine all

15   of the factors that it needs to consider in formulating a recommendation for the Court about

16   whether the Defendant should be allowed early termination of supervision. The brief three

17   week continuance and two week extension will not unduly prejudice the Defendant.

18          This is the Government’s first request.

19          THEREFORE, the parties respectfully request the Court order that that the hearing on

20   the Defendant’s motion for early release from supervision, currently set for February 17, 2016,

21   should be continued, to a date and time convenient to the Court, but not earlier than three week

22   after the February 16, 2016 Judgment Debtor Exam is concluded; and the parties further request

23   that the Government will have an extension of time to file the Government’s response to the

24   Defendant’s motion for early release from supervision from January 29, 2016 to a date and time
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         Case
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 1   convenient to the Court, but not less than two weeks after the February 16, 2016 Judgment

 2   Debtor Exam is concluded.

 3
                    Dated this 29th day of January, 2016.
 4
                                                              DANIEL G. BOGDEN
 5                                                            United States Attorney
 6                                                            /s/ Kimberly M. Frayn
                                                              KIMBERLY M. FRAYN
 7                                                            Assistant United States Attorney

 8
                                                              /s/ Thomas F. Pitaro, Esq.
 9                                                            THOMAS F. PITARO, ESQ.
                                                              Counsel for WILLARD DEAN
10

11                                                ORDER

12                  After considering the parties’ stipulation, the Court hereby finds good cause to

13   grant the Government’s request.

14           THEREFORE, IT IS HEREBY ORDERED that the Stipulation To Continue Hearing On

15   Defendant’s Motion For Early Release From Supervision And Extension Of Time For

16   Government To File Its Response To Defendant’s Motion is GRANTED. The hearing currently

17   set for February 17, 2016, is hereby continued, to a date not earlier than three week after the

18   February 16, 2016, that is on ________________,
                                   Monday, March 14,2016 at _______
                                                     2016,           __.m. and the Government
                                                            at 11:00 a.m.
19   shall file its response to Defendant’s motion before midnight on the day two weeks after the

20   February 16, 2016 Judgment Debtor Exam is concluded., by March 1, 2016.

21
                                                   _____________________________________
22                                                 THE HONORABLE JENNIFER A. DORSEY
                                                   UNITED STATES DISTRICT COURT JUDGE
23

24
                                                  3
